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                          EXHIBIT B

                   Television Spot Storyboard
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                TV Storyboard English (30-seconds)

                                     VO: Attention talcum powder users!

                                     https://www.shutterstock.com/video/clip-
                                     1041465568-pouring-white-baby-talcum-powder-
                                     into-hand




                                     VO: Have you had ovarian or
                                     gynecological cancer?

                                     https://www.pond5.com/stock-
                                     footage/item/123376777-cancer-patients-
                                     receive-chemotherapy




                                     VO: A proposed $8 billion plan will pay
                                     those who believe

                                     https://www.shutterstock.com/video/clip-
                                     1086912119-slow-motion-multi-ethnic-mixed-
                                     age-range




                                     VO: they got sick from using talc
                                     products like Johnson’s Baby Powder and
                                     Shower to Shower.

                                     https://www.shutterstock.com/video/clip-
                                     1055951834-pretty-adult-daughter-senior-
                                     mother-standing-on
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                                    VO: Johnson and Johnson maintains that
                                    its products are safe and do not cause
                                    cancer or other illnesses.

                                    https://www.shutterstock.com/video/clip-
                                    1035897743-close-up-hand-woman-pouring-
                                    talcum-powder-onto



                                    VO: You have until July 26th, 2024, to
                                    vote to accept or reject the plan.

                                    https://www.pond5.com/stock-
                                    footage/item/97440031-white-powder-thrown-
                                    slow-motion-against-blue-background




                                    VO: For more information visit
                                    OfficialTalcClaims.com or call
                                    888-431-4056.

                                    https://www.pond5.com/stock-
                                    footage/item/97440031-white-powder-thrown-
                                    slow-motion-against-blue-background
